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                            Exhibit 13
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             FRESNO COUNTY BYLAWS                                   RULES



BYLAWS               ffo         COQAPOýS

1   You must own             or possess a Harley-Davidson                  motorcycle
    at all   times Some exception can bemade due                            to

    finances       deemed by         charter at that         time
2 No       pipes      No    hypes         No   exceptions
3 No       rats      no informants          You       will   not send   someone     to

    jail   or prison due to your testimony or                   comments given
    in a   statement         No     cops       Retired current or have
    trained or even considered

4 No       child molesters

5Noý
6 Must have and conduct a weekly meeting church
7 Must be over 21 years of age
8 There       will    be   NO    stealing      amongst members and
    prospects
9 There       will    be no lying amongst              members kicked out
ioMust pay           Dues

VOTES making                it
                                 count


1 Must        be a    member        to   Vote
2 A member                must be    in    good standing        in order to      have    a

    Vote count
3 ALL        members         will   be notified one          week   before a vote        is


    taken         You      must     attend      the     meeting     that    votes    are

    collected        to   have a vote count



                                                                                          1
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4   Your dues must be reasonably                             current        in order for        your
    vote to       count Exceptions                  If   a   member         is   on parole or     in

    the    hospital       and    attends             his     vote    will        count    Charter

    issues   only
5 IF       your membership               is    in    question         your vote          will    not

    count     on        that    issue    and         on      that    issue        alone     your
    membership
6   If   your patch       is   boxed your            vote will       not     count




VOTING            the numbers


1 Vote      for     hang-around and prospect                     will       be   23
    majority
2 Vote for          membership          will   be        100          If there is        only one
Gdo vote           it   must be explained and accepted by charter
3 Vote for          discharge of        membership majority
4 Vote for         rules   and motions              23rd        majority
5   Votes    for fines         and punishment                majority
6   Votes    for officers will           be motioned                first    and seconded

    and    will    be motioned one             week          prior to the charters

    anniversary           The week of the charter anniversary votes
    will   be counted           majority




                                                                                                    2
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TREASURY

1 Dues          members            will        pay        monthly       dues        of    10000
    Members           will      pay weekly                dues of      2500         but   will     not

    exceed      10000             for that          month or         less   than    10000          for

    that   month
2   To change dues amount                          will    require a written         motion one

    month prior            to     vote        It    will    require     23rds majority              to

    change amount or payment plans
3   Members           3    months behind on dues                       will       be brought up

    before charter to have their patch                            boxed until paid
4   Fines from charter                   will       be paid towards               USA         Run
    and    kept in separate account                         for   USA             use only Vote

    to  money otherwise majority
         use
5 Fines to be doubled when paid late                                   unless charter         votes

    to   allow more time                  Motion           to   be brought up one month

    prior to due date              23rds             majority to        accept or         not
6   Disciplinary             fines       not        mentioned          in     a    rule    will    be

    brought up and voted on the next                              week majority


MAINTAINING MEMBERSHIP


 1 Must         attend       weekly meeting                     Missing meeting             will    be

     punished             with a
                                   L
                                       fine    of    2500            prospects            doubled
     To        have        fine    levied            must       be     brought       up     to     the

     membership the next week by offender and voted on


     Health-Issues
     Majority rules
                 will be        excused
                                        Incarceration             or    reasonable




                                                                                                      3
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    MAINTAINING MEMBERSHIP
2 Any      member missing               3   meetings         in     a   row without          the

    charters    approval         will    be brought up                  for    discharge      of

    membership
3   Members must            ride     their      Harley-Davidson                     motorcycle
    to meetings       at least     75         of the time               From March           31St


    through     November          1St


4   Members must wear                their    patch     to   every meeting
5 Members
    Harley-Davidson
                 must keep

                    motorcycle
                                        and     maintain

                                               Down          time
                                                                  a running

                                                                          on         members
    motorcycles         will    be      limited to         6 weeks         max during
    riding   season        March            31 St-November               1St A 5000
    Line will   be imposed              after   6-week period                  is   up      Also
    5000     will   be paid towards the 6-weeks                          if    expired time
    has lapsed

6   Members      will    maintain a current drivers license with a

    motorcycle          endorsement              at    all     times                 Fine    fo

    suspended drivers license                 will    be    5000         per        month
7 Members
    Harley-Davidson
                 will


                 motorcycle
                           maintain current

                                         that    is
                                                           registration

                                                       ridden       by        that
                                                                                    on
                                                                                      member
    Fine will    be     5000         per     month not current                       This   rule

    applies to insurance as             well
8 Members        will    not be influenced                 by narcotics or alcohol
    during or prior        to   meetings              You    will       be kicked        out of

    the meeting      and    f   ned     2500          and counted as absent                  for

    that   meeting
9 A    member       will       not have        sexual       relations         with another

    member      or prospects            wife    or girlfriend             Punishable          by

    taking   membership




                                                                                                  4
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10 Members and             prospects          will    fight       one         on one        No
 weapons Fine            10000            If offense        is   great     enough          their


 membership            will    be       brought      before         the       charter       for

 discharge        23rds       majority
11 Every member and                  prospect        will    file       for    a passport

 Prospect         will     not       make        member             without           filing

 Member         will     be    fined         10000          per     year        not    filed

 excused on eligibility
                  ility

12   Officers   will      ride     in    front   of the           motorcycle           pack
 Members behind Officers                      prospects           behind        members
 hang-around             behind         prospects           friends           and     others

 behind hang-around

13   A   member with          a conduct       problem            will    be brought up

 before     the     charter        for    Vote       of     Punishment                23rdS
 majority         That problem must question                            integrity     of our

 club or charter

14   A   member must make engagements on time                                          If    an

 engagement time              is   agreed      upon and not met you                        will

 be fined    100         per minute you are late
15   A   misconduct       punished           by a    fine    must be announced
 in   meeting and reported               to Treasurer            by offender           Must

 also    announce        status    of    money being             paid    on the fine
16 Only members               will      be    present       in      meetings          unless

 determined         otherwise            by    charter              Guests          will     be

 brought up one           week       prior to attending             meetings

17 Only members            will    wear our patch                No     exceptions
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  18 You        must maintain                   membership                 for    over         one     year
     before     you can transfer                       Before transferring you must

     be    in   good standing                    dues         fines        paid    in     full         You
     must also bring up intention                              of transfer              at     least    one
     week       before       leaving            charter          We        will      not       except     a

     members           transfer into our charter                      without            one year of

     good       membership and a                        letter   of transfer                 from      their

     charter       Their dues and                     fines   must be paid                   in full    and
     meet our membership requirements                                       23rds               majority
     vote before entering our                     charter
  19 You        will    maintain              a current          property               list     of club

    property            Property              lists    and updates               will     be    twice     a
                                  St                                  St

    year Due July             1         and December 31
  20 Club        property              will     not      be      made        without            charters

     knowledge          and approval                   This includes              all    club     indicia

     Shirts hats rings patches etc
  21   Lost or stolen property                        will   be punishable                by    10000
     fine per article              It   will     also be reported                 and announced
     as soon as possible

  22 Members             will           make          mandatory             runs          Missing         a

    mandatory run will                   result in a         FINE
rýoc tovble     r c-ýr    tie                 South     Run                10000
Ghoýrker   2aJe5       F6 PONS                North Run                    10000

                 memher       f5
                                              USA                          25000
                        er   chosen           to attend the       world run backs out

       for a    reason not accepted                    by the charter he                 will    be

       fined    100000
  23   A   member        will conduct himself in an orderly                                    way
     during meetings                   No     Disruptions             Fine       1000           per
     offense



                                                                                                           6
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24 New member                 probation period               is   5yrs The       first
                                                                                          year he
will   maintain         the    clubhouse          and         other      probate         duties       if

there are        no prospects or hangarounds                       at this      time      During
the    5yr period the member                     will        attend     all   club      functions

and    participate      in the charter           The         front   of the     new member
vest   is
            up   to the discretion         of the charter




Making           Member         100000             membership fee Includes                            a

background             check      vest      and          patch          visiting         charters

maintaining           clubhouse        and        make            USA           Run        before

being voted in
Tattoos           A   new member           will    get a club tattoo within a 30

day period            You must     be a      member               for   5yrs     to    get a     full

back    tattoo         Leaving        Memberships                       Black     out     tattoos

upon reason             Quitting will            have out date                letters    of same

size

Quitting              May come           back       after         one    year     to      original

charterif charter             OK
Patch in Box            1 No     vote      for    30 days

                         2    All Hells     Angel indicia                will   not be     worn
                         3    Your Office Held                     forfeited

                         4    Discussion of             collateral at this            time     will

                              be brought up             if   needed
                         5 Member           will    get his act together in 30

                              days or    may be up                for re-vote     of     his


                              membership
                         6    Will attend         all   club functions

                         7    Patch   in   box 30 day minimum




                                                                                                        7
